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        IN THE UNITED STATES DISTRICT COURT
        FOR THE SOUTHERN DISTRICT OF TEXAS
                 HOUSTON DIVISION


BLAINE MILAM                       §
          Petitioner,              §
                                   §
    v.                             §                 No.
                                   §
BOBBY LUMPKIN                      §
Texas Department of                §                 Capital Case
Criminal Justice,                  §
Correctional Institutions Division §
               Respondent.         §




   PETITION FOR WRIT OF HABEAS CORPUS PURSUANT TO 28
                      U.S.C. § 2254


                Execution date set for January 21, 2021.

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                                  PARTIES

       Petitioner Blaine Milam is an inmate of the Texas Department of

Criminal Justice (“TDCJ”). Mr. Milam’s TDCJ number is 999558 and he

is housed at the Polunsky Unit, in Livingston, Texas.

       Respondent Bobby Lumpkin is the Director of TDCJ’s Correctional

Institutions Division and an agent of the State that has custody of Mr.

Milam. The Director has custody pursuant to the judgment and sentence

of death entered against Mr. Milam on May 27, 2010, in State v. Milam,

No. CR09-066.

                      JURISDICTION AND VENUE

       This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 2241(a),

and 2254(a). 1 Mr. Milam’s trial was held in Montgomery County, Texas.

Venue is proper in the United States District Court for the Southern

District of Texas under 28 U.S.C. § 2241(d) because it is the court for the

district within which Mr. Milam was convicted and sentenced.




1Concurrently with this Petition, Mr. Milam has filed a Memorandum of Law in
Support of Authority to Review.
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  I.      Introduction.

        The State of Texas does not have the power to execute Mr. Milam

because he is intellectually disabled. Moore v. Texas, 137 S. Ct. 1039

(2017). Applying the criteria reflected in the medical community’s

consensus, three of the four experts who have been asked to evaluate if

Mr. Milam meets all three prongs of intellectual disability—including an

expert retained by the State—have concluded that Mr. Milam is

intellectually disabled. 53 RR 239; Ex. 10, Declaration of Jack Fletcher

(“Fletcher Dec.”) at 9; Ex. 2, Affidavit of Edward Gripon (“Gripon Aff.”) ¶

7. Because Mr. Milam meets the “three core elements” of an intellectual

disability diagnosis, he is within the class of persons whose execution is

prohibited by the Eighth Amendment. Moore v. Texas, 139 S. Ct. 666, 672

(2019); Moore, 137 S. Ct. at 1041.

  II.     Procedural history.

        Mr. Milam was found guilty of capital murder and sentenced to

death on May 27, 2010, in the 4th District Court of Rusk County. 56 RR

180. At sentencing, Mr. Milam alleged that he is intellectually disabled

and therefore categorically ineligible to receive the death penalty. The

State urged the jury to rely on evidence relevant under Texas’s then-


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standard in its evaluation of the intellectually disability special issue. 2

The jury answered that special issue negatively. 4 CR 987. The jury’s

determination was not challenged on direct appeal under Texas’s then-

prevailing Eighth Amendment standard. The Texas Court of Criminal

Appeals (“CCA”) affirmed the conviction and sentence of death on May

23, 2012. Milam v. State, No. AP-76,379, 2012 WL 1868458 (Tex. Crim.

App. May 23, 2012) (unpublished).

        Mr. Milam filed an Initial Application for Writ of Habeas Corpus in

state court raising four claims on April 1, 2013. The Application did not



2   As summarized by the Director in her Response:

        Prosecutor Lisa Tanner closed by arguing Milam was unequivocally not
        intellectually deficient based upon the four IQ scores- two of which
        indicated he was in the borderline range and two which clearly showed
        he was not in that range. [. . .] Regarding adaptive functioning, Tanner
        referred to the testimony from school teachers, friends, coworkers, and
        family [. . .] She reminded the jury that Milam passed a driving test, was
        able to find and keep employment, wrote letters from jail, read books,
        used computers and the internet, memorized his driver’s license number
        and social security number, fixed cars and other machinery, did school
        work, played games, cared for Amora, and could carry on a conversation.
        56 RR 134-36. He was also able to procure drugs by buying or trading
        for them and his drug transactions from the police, family, and friends.
        56 RR 135. Tanner noted that many of Milam’s deficits could be
        attributed to other factors like lack of education, laziness, and drug
        abuse. 56 RR 137-38. Finally Tanner cited to the lack of documentation
        as proof that Milam suffered no deficits prior to the age of eighteen. 56
        RR 138.

ECF No. 22 at 105–06.

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include a claim that Mr. Milam was categorically ineligible to be executed

due to intellectual disability under Texas’s Eighth Amendment standard.

The CCA denied habeas relief on September 11, 2013. Ex parte Milam,

No. WR-79,322-01, 2013 WL 4856200 (Tex. Crim. App. Sept. 11, 2013)

(per curiam).

     Mr. Milam filed a Petition for Writ of Habeas Corpus in the United

States District Court for the Eastern District of Texas on October 14,

2014. Milam v. Director, No. 4:13-cv-00545 (E.D. Tex. Oct. 14, 2014). The

Petition did not allege that, under Atkins v. Virginia, the Eighth

Amendment prohibited the State from executing Mr. Milam because he

is intellectually disabled. On August 16, 2017, the district court denied

Mr. Milam’s federal habeas petition, Milam v. Director, No. 4:13-cv-

00545, 2017 WL 3537272, at *51 (E.D. Tex. Aug. 16, 2017), and the Court

of Appeals for the Fifth Circuit denied Mr. Milam’s Application for a

Certificate of Appealability shortly thereafter. Milam v. Davis, 733 F.

App’x 781 (5th Cir. 2018).

     On September 11, 2018, with Mr. Milam’s petition for writ of

certiorari pending in the Supreme Court, the 4th Judicial District Court

of Rusk County set an execution date of January 15, 2019. The Supreme


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Court denied certiorari from Mr. Milam’s federal habeas petition on

October 9, 2018. Milam v. Davis, 139 S. Ct. 335 (2018).

     On January 7, 2019, Mr. Milam filed a subsequent state habeas

application alleging, inter alia, that he is intellectually disabled

according to the medical community’s diagnostic criteria and that his

execution would therefore violate the Eighth Amendment under Moore v.

Texas, 137 S. Ct. 1039 (2017). On January 14, 2019, the CCA determined

that Mr. Milam’s claim should receive adjudication on the merits in light

of Moore. It stayed Mr. Milam’s execution and remanded Mr. Milam’s

intellectual disability claim to the trial court “[b]ecause of [. . .] recent

changes in the law pertaining to the issue of intellectual disability.” Ex

parte Milam, No. WR-79,322-02, 2019 WL 190209 (Tex. Crim. App. Jan.

14, 2019).

     On June 3, 2019, the trial court announced in a one sentence “letter

pronouncement” that it was “denying” Mr. Milam’s application. SHCR

Second Supp. 115. On June 12, 2019, Mr. Milam filed a motion to recuse

the trial court judge on the basis that he had prejudged the merits of Mr.

Milam’s intellectual disability claim and denied it before affording Mr.

Milam the opportunity to submit evidence and prove his claim via


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statutorily mandated procedures. See Tex. Code Crim. Proc. art. 11.071

§§ 7–9. The presiding judge of the Tenth Administrative Region denied

Mr. Milam’s recusal motion on August 12, 2019. Ex parte Milam, Order,

CR09-066 (4th Dist. Ct. Aug. 12, 2019).

     Without taking any further judicial action, the trial court signed

verbatim the State’s proposed findings of fact and conclusions of law

rejecting Mr. Milam’s intellectual disability claim on October 16, 2019.

SHCR Second Supp. 253–54. The CCA adopted the findings of fact and

conclusions of law with slight modifications on July 1, 2020. Ex parte

Milam, 2020 WL 3635921 (Tex. Crim. App. July 1, 2020). Those findings

of fact and conclusions of law ultimately concluded that, despite its

earlier authorization, Mr. Milam was not entitled to merits review of his

intellectual disability allegation. Instead, the CCA concluded that its

authorization of Mr. Milam’s intellectual disability claim had “effectively

severed the procedural claim—applying Moore I and Hall—from the

substantive Atkins claim” and limited their application of Moore to a

determination of whether “the errors that occurred” in Moore arose “in

the jury’s determination of the intellectual disability special issue during

Applicant’s trial.” Ex parte Milam, No. CR-09-066, State’s Proposed


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Findings of Fact and Conclusions of Law, at ¶ 167, 185 (396th Dist. Ct.

Oct. 16, 2019). The CCA also adopted a conclusion that its prior order

authorizing Mr. Milam’s intellectual disability claim under Article

11.071 § 5(a)(1) had “implicitly rejected Applicant’s attempt to challenge

the substance of his Atkins claim pursuant to the actual-innocence of the

death penalty provision under Article 11.071 § 5(a)(3).” Id. ¶ 221. On July

31, 2020, the 4th District Court of Rusk County set an execution date for

Mr. Milam of January 21, 2020.

     On September 30, 2020, Mr. Milam filed in the United States Court

of Appeals for the Fifth Circuit a Motion for Order Authorizing the

District Court to Consider Second or Successive Petition for Writ of

Habeas Corpus Pursuant to 28 U.S.C. § 2244 (“MFA”). Mr. Milam sought

to raise, for the first time in federal court, his claim that the State of

Texas cannot execute him because he is intellectually disabled. On

October 30, 2020, the Court of Appeals denied authorization on the

ground that Mr. Milam could not establish the prior unavailability of an

intellectual disability claim, whether under Moore or Atkins, in

accordance with § 2244(b)(2)(A). In re Milam, Case No. 20-40663, Order

(5th Cir. Oct. 27, 2020) (“Order”) at 5–6.


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  III. Mr. Milam is intellectually disabled and exempt from
       execution under the Eighth Amendment.

     After Moore v. Texas, both clinical and legal definitions of

intellectual disability require evidence of: 1) subaverage intellectual

functioning; 2) significant limitations in adaptive skills; and 3)

manifestation of these symptoms in the developmental period. Moore,

137 S. Ct. at 1045 (“generally accepted, uncontroversial intellectual-

disability diagnostic definition” identifies “three core elements,” which

are intellectual functioning deficits, adaptive deficits, and onset of

symptoms during developmental period). Three of the four psychological

experts who have been asked to evaluate Mr. Milam for all three prongs

of intellectual disability—including an expert retained by the State at

trial—have determined that he meets these criteria and is intellectually

disabled. See Ex. 10, Fletcher Dec. at 9; Ex. 2, Gripon Aff. ¶ 7; 53 RR 239.

Further, in its October 30 Order denying authorization, the Fifth Circuit

noted that Mr. Milam had shown evidence in support of all three

elements of an intellectual disability finding. Order at 6. Similarly, in

remanding Mr. Milam’s intellectual disability claim to the trial court

under Tex. Code Crim. Proc. art. 11.071 § 5(a)(1), the CCA found that Mr.

Milam had made a prima facie showing that he is intellectually disabled.

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Ex parte Milam, No. WR-79,322-02, 2019 WL 190209 (Tex. Crim. App.

Jan. 14, 2019); see Ex parte Brooks, 219 S.W.3d 396, 400 (Tex. Crim. App.

2007) (Texas Code of Criminal Procedure art. 11.071 § 5(a)(1) requires

that an applicant must make a prima facie showing that a new legal basis

applies to his claim). Although neither is dispositive, it provides

substantial support for Mr. Milam carrying his burden here.

        First, IQ testing administered to Mr. Milam has resulted in scores

within the significantly subaverage range of intelligence on valid IQ

testing. Before trial, both Dr. Paul Andrews, a defense expert, and Dr.

Timothy Proctor, an expert for the State, administered the WAIS-IV, the

most current version of a multifactorial IQ test, to Mr. Milam. Mr. Milam

scored 71 and 68 on the tests, respectively.3

        Additionally, Dr. Gripon, a State psychiatric expert who evaluated

Mr. Milam before trial, formed the opinion that Mr. Milam “clearly has



3 Further, the scoring on a third FSIQ test administered to Mr. Milam pretrial was
miscalculated. Dr. Andrews administered a Stanford-Binet 5 to Mr. Milam and
calculated the score as an 80. However, Dr. Andrews made an error in scoring. The
correct score on the Stanford-Binet is a 78. Ex. 11, Declaration of Dale Watson
(“Watson Dec.”) ¶ 20. When the Flynn Correction is factored into this score, Mr.
Milam’s FSIQ score on the SB-5 is a 75, also in the range for intellectual disability.
Id. ¶ 22. However, even if that score were not considered, both WAIS scores are in
the range of intellectual disability and Mr. Milam meets prong 1 under Hall and
Moore. Hall, 572 U.S. at 723; Moore, 137 S. Ct. at 1050.


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intellectual limitations” and “does not have normal intellectual

potential.” Ex. 1, Report of Edward Gripon (“Gripon Report”) at 14. Dr.

Gripon estimated Mr. Milam’s IQ “to be in the range of 65 to 70.”4 Id. At

a minimum, based on the results of the WAIS-IV tests, this Court is

required to consider the evidence of Mr. Milam’s adaptive deficits. See

Moore, 137 S. Ct. at 1048 (requiring that courts not rule out intellectual

disability based on intellectual functioning where an individual’s IQ

score, adjusted for the test’s standard error, falls within the clinically

established range for intellectual functioning deficits).

        Second, Mr. Milam has significant deficits in his adaptive

functioning. Adaptive behavior is categorized into the conceptual, social,

and practical domains. This criterion is met when at least one these

domains is sufficiently impaired. In this case, the only two psychologists

to perform formal adaptive deficit assessments by administering rating

scales and semi-structured interviews have concluded that Mr. Milam

has significant adaptive deficits. Further, information from teachers,




4Dr. Gripon’s report also stated he estimated Mr. Milam’s “intellectual level to be in
the ranges of an IQ of 65 to 75.” Ex. 1, Gripon Report at 14.
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friends, employers and family members who knew Mr. Milam as a child

and teenager corroborate these findings.

     With regard to the conceptual domain, Mr. Milam is impaired in

reading, writing, speech, and math and money management. At school

and at work, he often needed instructions repeated and required

substantial one-on-one assistance. Ex. 3, Bradford Aff at ¶ 6. Mr. Milam

also has significant deficits in the receptive language area, as evidenced

by his inability to understand and follow a list of grocery items; 51 RR

274; in the expressive language area, including the use of simple words,

short sentence structures, and his inability to express himself; in the area

of reading and writing, apparent from poor spelling, disorganized

sentences and paragraphs, and the fact that Mr. Milam’s mother had to

fill out his application for employment; 53 RR 207; in the area of handling

money, with Mr. Milam not understanding how to use a debit card, how

to budget, and a history of purchasing items he already owned; 53 RR

215; and in the area of time management, Mr. Milam did not know how

to read an analog watch. 53 RR 217.

     In the social domain, Mr. Milam is frequently described as being

awkward, shy, and quiet. He had low self-esteem, was bullied, and, once


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he reached adolescence, he did not mature at the rate of his peers. Dr.

Gripon, who evaluated Mr. Milam for the State prior to trial, wrote “[i]n

visiting with Blaine Milam for almost four hours, it becomes glaringly

obvious that he is quite simplistic. He has very simplistic ideas, is very

naïve, extremely gullible, easily led . . . .” Ex. 1, Gripon Report at 13.

      Finally, with regard to the practical domain, he is deficient in his

ability to conduct household tasks, such as cooking, laundry, making his

bed, other household chores. He never independently sought or accessed

medical resources, never had a bank account, and could not use a debit

card. Dr. Gripon similarly noted significant difficulties with money

concepts. Dr. Fletcher also reports, “[a]t a younger age, his self-care skills

were under-developed . . .” and that “[h]e needed considerable support for

any form of independent living.” Ex. 11, Fletcher Dec. at 8.

      Third, these deficits began before the age of 18. Mr. Milam was

arrested for the underlying capital offense when he was 18. The

overwhelming majority of the evidence of his intellectual disability

originates from the developmental period.




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              1. Mr. Milam has deficits in intellectual functioning.

        Mr. Milam has scored within the range for intellectual disability on

IQ testing administered by both defense and state experts. In November

2009, Mr. Milam was administered the WAIS-IV by Dr. Andrews, a

neuropsychologist retained by the defense in anticipation of trial. Mr.

Milam, then aged 19, obtained a full-scale IQ score of 71.5 Ex. 9, Report

of Paul Andrews (“Andrews Report”) at 4; 53 RR 200. In March 2010, Mr.

Milam obtained a full-scale IQ score of 686 on the WAIS-IV administered

by Dr. Proctor, a neuropsychologist retained by the state to conduct a

forensic psychological evaluation. Ex. 8, Report of Timothy Proctor

(“Proctor Report”) at 15; 53 RR 202. That both WAIS scores are within

the 65-75 confidence interval indicates that they are reliable scores. Ex.

11, Fletcher Dec. at 5 (“The most reliable finding and the one that should

be weighted most highly in Mr. Milam’s evaluation is the close proximity

of the two WAIS-IV scores of 70 and 67 and the fact that both are within



5 While this score is already within range for mild intellectual disability, when
corrected for the Flynn Effect, the score is reduced to a 70. Ex. 19, Watson Dec. at ¶
17.

6Likewise, this score is already well within range of mild intellectual disability. When
corrected for the Flynn Effect, however, the score is reduced to a 67. Ex. 19, Watson
Dec. ¶ 34.

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the 95% confidence interval of 65-75 established for the WAIS-IV.”); 7 see

also Ex. 12, Declaration of John Gregory Olley (“Olley Dec.”) ¶ 11.

         In addition to the WAIS-IV, Dr. Andrews administered the

Stanford-Binet 5 in December 2009, which he calculated as a full-scale

IQ score of 80. Ex. 9, Andrews Report at 4; 53 RR 200. However, Dr.

Andrews miscalculated the SB-5, resulting in an error in the verbal IQ

and full-scale IQ score; when scored accurately, the SB-5 a full-scale IQ

score of 78. Ex. 11, Watson Dec. ¶ 20. Moreover, when calculated

factoring in the Flynn Correction, Mr. Milam’s FSIQ score on the SB-5 is

75.8 This score is also within the range of mild intellectual disability. Ex.

11, Watson Dec. ¶ 22.




7   The IQ test scores in Dr. Fletcher’s report are adjusted for the Flynn Correction.
8 Dr. Proctor also administered the Reynolds Intellectual Achievement Scales
(“RIAS”). 55 RR 141–42. Despite Dr. Proctor’s characterization at trial of the RIAS as
an intelligence test, 55 RR 141, the RIAS does not yield a full-scale IQ score. 53 RR
202. Instead, the RIAS is only a screening measure. Id. at 203; Ex. 10, Fletcher Aff.
at 4 (“The RIAS was not designed to assess the full range of abilities captured by
either the WAIS-IV or the Stanford-Binet-5.”). Regardless, neither this score, nor the
SB-5 score if evaluated without factoring in the Flynn Correction can preclude
evaluation of Mr. Milam’s adaptive functioning. See Hall, 572 U.S. at 707 (court
required to evaluate evidence of adaptive functioning where “Hall had received nine
IQ evaluations in 40 years, with scores ranging from 60 to 80 . . . but the sentencing
court excluded the two scores below 70 for evidentiary reasons, leaving only scores
between 71 and 80”) (internal citations omitted).

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     In addition, Dr. Gripon, also an expert retained by the State to

assess intellectual disability, estimated Mr. Milam’s IQ to be in the range

of 65 to 70 after a four-hour interview with him.9 Ex. 1, Gripon Report at

14. Dr. Gripon concluded that it was “glaringly obvious that [Mr. Milam]

is quite simplistic” and “does not have normal intellectual potential.” Id.

     Further, Mr. Milam’s deficits in intellectual functioning are

confirmed by a history of poor academic achievement. Although Mr.

Milam’s school records have been destroyed, Texas Education Agency

records show that Mr. Milam was referred for special education services

for speech therapy in second, third, and fourth grade. Ex. 16, TEA

Records at 3. Carolyn McIlhenny, who taught Mr. Milam in the second or

third grade, recalled that he “struggled with everything he did

academically” and that “[h]is intellectual functioning was the lowest of

the class.” Ex. 4, Affidavit of Carolyn McIlhenny (“McIlhenny Aff.”) ¶ 3.

Similarly, Mrs. Juanita Bradford, who taught Mr. Milam in fourth grade,

described him as “really slow” and that Mr. Milam had been placed in

resource, the then-equivalent of special education. Ex. 3, Affidavit of

Juanita Bradford (“Bradford Aff.”) ¶ 4.




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         Scoring obtained from IQ testing administered by both defense and

state experts—a 71 and a 68 on the WAIS-IV and a 7810 on the SB-5—

places Mr. Milam within the range for intellectual disability. These

scores—all of which are valid measures—establish as a matter of law

that determining whether Mr. Milam is intellectually disabled must rest

on an assessment of his adaptive functioning. Moore, 137 S. Ct. at 1050.

                2. Mr. Milam has deficits in adaptive functioning.

         The second prong requires that the applicant show deficits in one

of the three domains of adaptive functioning. Diagnostic and Statistical

Manual of Mental Disorders, 5th Edition (“DSM-5”) at 33. Mr. Milam’s

deficits span all three domains. Dr. Jack Fletcher assessed Mr. Milam’s

adaptive functioning. To do so, Dr. Fletcher reviewed records pertaining

to the issue of Mr. Milam’s overall functioning, including affidavits and

testimony from former teachers, employers, friends, and his Sunday

school teacher, as well as reports by Drs. Paul Andrews, Timothy Proctor,

Mark Cunningham, Edward Gripon, and Dale Watson, and other social




9Dr. Gripon also estimated Mr. Milam’s IQ to be in the range of 65 to 75. Ex. 1, Gripon
Report at 14.

10   Adjusted with the Flynn Effect, this score is a 75.

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history records. Dr. Fletcher also administered the Vineland Scales of

Adaptive Behavior-2 11 to Shirley Milam and Teresa Milam Shea. Ex. 10,

Fletcher Dec. at 5.

     Dr. Fletcher asked Shirley Milam to focus on the period when Mr.

Milam was between the ages of 17 and 18 in his administration of the

instrument to her. The result yielded “scores of 62 in the Communication

domain, 66 in the Daily Living Skills domain, 74 in the Socialization

domain, and an adaptive behavior composite of 65 (first percentile).” Id.

at 7. Dr. Fletcher requested that Ms. Shea focus on the period when Mr.

Milam was between 9 and 10 years old. The resulting scores were “67 for

Communication, 68 for Daily Living Skills, and [. . .] 75 for Socialization,

with an adaptive behavior composite of 69 (first percentile).” Ex. 10A,

Addendum to Declaration of Jack Fletcher (“Fletcher Addendum”). Dr.

Fletcher noted that the scores obtained separately from Mrs. Milam and

Ms. Shea are consistent with each other. Further he noted, priority

should be given to the composite scores—65 and 69 respectively—because




11 The Vineland delivered as a semi-structured interview in order to minimize
response bias. Ex. 10, Fletcher Dec. at 7.
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they are the most reliable. Ex. 10, Fletcher Dec. at 7; Ex. 10A Fletcher

Addendum.

      At trial, Dr. Cunningham also conducted a formal assessment of

Mr. Milam’s adaptive functioning and concluded that he exhibited

“substantial” deficits across all domains. 53 RR 262. Dr. Fletcher noted

the consistency of the results he obtained with those obtained by Dr.

Cunningham from the only other formal assessment of Mr. Milam’s

adaptive functioning. Ex. 10, Fletcher Dec. at 6. Based on his review of

historical social records; witness statements from teachers, childhood

friends, former coworkers, and family members; and his administration

of the Vineland, Dr. Fletcher formed the opinion that Mr. Milam had

significant limitations in adaptive functioning during the developmental

period. Id. at 7.

                    i.   Conceptual skills

      The conceptual domain includes language, reading and writing,

arithmetic, as well as planning and time. DSM-5 at 37; American

Association on Intellectual and Developmental Disorders, 11th Edition

(“AAIDD-11”) at 45. Both Dr. Cunningham and Dr. Fletcher concluded

Mr. Milam possessed significant deficits in this domain. See Ex. 10,


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Fletcher Dec. at 10. Mr. Milam struggled with receptive language—the

ability to understand what was being said—and expressive language—

the vocabulary that he used and being able to pronounce and articulate

words. 51 RR 206–07.

     At school, Mr. Milam struggled to understand instructions. Even

after exercises were modified to his academic limitations, he still did not

understand. Ex. 3, Bradford Aff. ¶ 6 (“Blaine often seemed confused by

instructions and required a lot of one on one attention.”); Ex. 4,

McIlhenny Aff. ¶ 3 (“Blaine struggled with everything he did

academically and required significant one-on-one attention. I had to

modify instructions and adapt exercises to his academic limitations.

Blaine often did not understand what was going on in class.”). Teachers

described him as “slow.” 51 RR 14, 33; Ex. 3, Bradford Aff. ¶ 4 (“Blaine

was a really slow student.”). Carol McIlhenny states that “[h]is

intellectual functioning was the lowest of the class.” Ex. 4, McIlhenny Aff.

¶ 3; see also Ex. 10, Fletcher Dec. at 6.

     He similarly needed instructions repeated at work. He often needed

to be shown how to do something, rather than instructed verbally. Even




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then, demonstrations sometimes had to be repeated. According to Milton

Bennett,

      When Blaine was a young teenager, I hired him to help me
      with small projects around the land, like raking leaves,
      hauling trash, and small building repairs. We worked side by
      side and I always supervised what Blaine was doing. When I
      showed Blaine how to something, he would not remember how
      to do it the next time, and I had to show him again. For
      example, I had to show Blaine how to read a tape measurer
      and make a small mark with a pencil on a board to be cut.
      However, I would have to show him how to read the tape
      measure again the next time I asked him to do it
Ex. 6, Affidavit of Milton Bennett (“Bennett Aff.”) ¶ 5.

      Jim Wallace supervised Mr. Milam at Nichols Marine, where he

was hired to wash and vacuum boats, check them for marks and

scratches, and sweep and empty the shop. According to Mr. Wallace,

“Blaine could not complete a task as instructed. If he washed the outside

of a boat, he would not vacuum the inside. I would have to check every

boat Blaine washed and had to tell him to go back and do something

again.” Ex. 7, Affidavit of James Wallace (“Wallace Aff.”) ¶ 5.

Additionally, “he could not complete a task independently and required

a lot of supervision.” Id. ¶ 6; see also Ex. 10, Fletcher Dec at 8.

     Gary Jenkins supervised Mr. Milam at Big 5 Tire. He testified that

when Mr. Milam first started, Mr. Jenkins had to show him what to do,

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not just tell him, even though Mr. Milam had been working on cars for

years. 54 RR 285–86.

     Mr. Milam also had difficulty with reading and writing. Dr. Gripon

found that “[h]is primary adaptive deficit is writing.” Ex. 1, Gripon

Report at 15. Mr. Milam’s vocabulary development was limited; he used

simple words and short sentence structures; and it was difficult to

understand what he was attempting to express. 53 RR 213. Mr. Milam

struggled with reading, got mixed up about sequences and characters,

and his spelling was poor. Id. at 214. Dr. Gripon concluded, “Blaine

Milam has serious limitations in his ability to read and write. I/We asked

him to write a sentence and he did print a short sentence. It was not

grammatically correct and some of the words that should have ended in

“ing” did not.” Ex. 1, Gripon Report at 3 (referring to interview conducted

along with Dr. Timothy Proctor). Dr. Cunningham and Dr. Proctor both

tested his spelling and obtained a score of a 77, which is in the deficient

range. 53 RR 214. Dr. Fletcher reports, “Ms. Shea, who worked with him

closely on schoolwork, said his writing was hard to read and it was

difficult for him to write in sentences.” His mother had to fill out

employment applications for him. 53 RR 207; Ex. 10, Fletcher Dec. at 8.


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     In school, Mr. Milam struggled with reading comprehension, could

not spell, and his hand shook when he tried to write. Ex. 3, Bradford Aff.

¶ 6. In the fourth grade, he was referred to resource, the then-equivalent

for special education, to benefit from individualized academic support in

reading and math. Id. Mr. Milam’s poor reading skills were also apparent

in Sunday school, where he struggled to read along. “[H]e did not read as

well as the other children in the class.” Ex. 6, Bennett Aff. ¶ 3; see also

53 RR 214 (Mr. Milam had difficulty reading out loud, would stumble

over larger words, would sometimes get mixed up about sequences and

characters in trying to recall what he had read).

     Mr. Milam also spoke with a stutter, Ex. 3, Bradford Aff. ¶ 7, and

was referred to special education services for a speech impairment in

second, third, and fourth grade. Ex. 16, TEA Records at 3. Mr. Milam

continued to struggle to pronounce certain sounds, referring to his older

sister Sherry as “Werry.” 51 RR 184. He was in a group of kids who

Sherry Brown, a teacher at Tatum Primary School, pulled out of class

because they needed extra help on alphabet and sounds. 54 RR 313.

     Dr. Gripon observed “significant difficulty with mathematics as it

applies to handling money, etc.” Ex. 1, Gripon Report at 15. Similarly,


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lay witnesses described that Mr. Milam could not calculate his pay after

a day’s work and could not count change. Ex. 3, Bennett Aff. ¶ 6 (“At the

end of the day, when I told Blaine how many hours he had worked and

his pay per hour, he could not figure out how much I owed him.”); 51 RR

276; 53 RR 74, 223–25, 233. Mr. Milam had to be shown how to read a

tape measure and would have to be reminded how to do so every time he

was required to use one. Ex. 6, Bennett Aff. ¶ 5. He could not read the

time correctly on Dr. Cunningham’s analog watch. 53 RR 217.

     Mr. Milam also struggled with shopping. He did not look to see if

the size of the clothing he was purchasing was the right size for him. His

family members often had to exchange his clothing purchases for him. 51

RR 274. When he was sent to the grocery store with a list of items, he did

not purchase everything on the list. Id.

               ii.   Social skills

     The social domain includes interpersonal skills, self-esteem,

gullibility, naïveté, and social problem solving. AAIDD-11 at 45. Dr.

Gripon observed that Mr. Milam “has very simplistic ideas, is very naïve,

extremely gullible, easily led . . . .” Ex. 1, Gripon Report at 13. Mr.

Milam’s teachers observed that he had few friends and did not make eye


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contact. Ex. 3, Bradford Aff. ¶ 3 (Mr. Milam “only had one friend”); Ex. 4,

McIlhenny Aff. ¶ 4 (“He did not make eye contact. . . . He was often alone

in class.”); 51 RR 19 (Mr. Milam had “one or two friends” in school). Mr.

Milam was remembered as a particularly quiet, shy and self-conscious

child. Ex. 3, Bradford Aff. ¶ 3 (“He was shy . . . . If I called on him, he

would stay silent and not give an answer.”); Ex. 4, McIlhenny Aff. ¶ 4

(“Blaine was a very shy child.”); Ex. 6, Bennett Aff. ¶ 3 (“Blaine was very

self-conscious about reading aloud in Sunday School.”).

     In the classroom, Mr. Milam was “bashful” and “shy,” “didn’t want

to meet your eye too much,” and “h[u]ng his head.” 51 RR 28. The rest of

Mr. Milam’s family was social, but he was “awkward and shy.” Ex. 5,

Affidavit of Kimberly Graham (“Graham Aff.”) ¶ 3. As a teenager, Mr.

Milam was “desperate” to have a girlfriend but “had a hard time with

girls.” Id. Both Carolyn McIlhenny and Milton Bennett thought he had

low self-esteem. 51 RR 30; Ex. 6, Bennett Aff. ¶ 4. He only ever had one

close friend as a child. Ex. 10, Fletcher Dec. at 8. Mr. Milam struggled to

maintain friendships as his emotional immaturity became more

pronounced and he became “socially isolated.” 51 RR 212; Ex. 10, Fletcher

Dec. at 8 (“Ms. Shea and Ms. [Milam] indicated that he was socially


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isolated and that he didn’t have age appropriate social skills. Ms.

McIlhenny and Ms. Bradford both report that socially, he was shy and

isolated. His employer Jim Wallace indicated that Mr. Milam did not

have many friends.”).

     Mr. Milam was bullied at school. His friend Chris Lay testified that

other kids pulled up his shirt, trying to see his scars from a surgery. Mr.

Milam became upset and cried. 53 RR 1–12. He was also teased because

of his speech impediment. 53 RR 21; see also Ex. 10, Fletcher Dec. at 6

(“Socially, his childhood friends Chris Lay and Kimberly Graham

described him as shy and socially awkward. Both indicated that other

children often teased him.”).

     Even as a young teenager, Mr. Milam watched Scooby Doo and

played with cars for hours with his niece Neva, who is ten years younger.

51 RR 233. Coworkers described him as “like a child.” Ex. 8, Proctor

Report at 8. At the age of 16, Mr. Milam seemed to be closer to the age of

10 emotionally. 52 RR 101. His family members described his throwing

temper tantrums in his mid-to-late teens, as if he were a much younger

child. 53 RR 220. Jim Wallace said, “Blaine appeared to be a follower and

wanted to do what [his older brother] Danny did.” Ex. 7, Wallace Aff. ¶ 8.


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Friends recalled that after he started dating Jesseca Carson,12 Mr. Milam

“did whatever she said.” Ex. 5, Graham Aff. ¶ 5; Ex. 10, Fletcher Dec. at

8 (“He had a particularly difficult time with girls and withdrew from most

friendships after he met Ms. Carson.”).

                  iii.   Practical skills

         The practical domain captures activities of daily living, occupation

skills, use of money, safety, health care, travel/transportation, and

schedules/routines. AAIDD-11 at 45. Mr. Milam has never lived

independently and required the significant support of family and peers

in all activities of daily living. Dr. Fletcher reports, “[a]t a younger age,

[Mr. Milam’s] self-care skills were under-developed and he needed many

reminders to do simple tasks like brush his teeth.” Ex. 10, Fletcher Dec.

at 8.

         Dr. Cunningham found that Mr. Milam exhibited deficits in the

practical domain, namely that Mr. Milam did not make his bed, did not

perform household chores, and did not prepare any meals beyond using

a microwave. 53 RR 224. Mr. Milam never had his own bank account and

never managed his own finances. Id. at 224–25. He was unable to work



12   Jesseca Carson was Mr. Milam’s co-defendant for his capital murder conviction.
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unsupervised and struggled to complete any task that was outside of an

assigned routine. Id. at 225.

     Similarly, Dr. Gripon concluded that Mr. Milam possessed deficits

in the practical domain, specifically that Mr. Milam could not manage his

bank accounts independently, could not memorize the pin number to his

debit card, and was unable to learn how to use his debit card to purchase.

Ex. 1, Gripon Report at 9 (“As an example, in an area where he would

purchase gas, [Mr. Milam] would actually give the people, whom he

knew, his PIN number and they would actually operate the machine for

him.”). Eventually, Mr. Milam’s debit and credit cards were taken from

him. Id. Dr. Fletcher concludes, “[h]e needed considerable support for any

form of independent living.” Ex. 10, Fletcher Dec. at 8.

     And indeed, Mr. Milam never did live independently and did not

live outside of the family home, except for a period of thirteen weeks, from

August 1, 2008, to November 11, 2008. 50 RR 8. He did not live there

alone, but with Ms. Carson. Mr. Milam and Ms. Carson obtained the

apartment after a then-coworker vouched for them to management. 50

RR 33. Records show that Mr. Milam was issued a “Notice to Vacate” and

“Advance Notice of Intent to Exercise Lockout Rights” for failing to pay


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rent and utilities in a timely manner in two of the three months during

which he was a tenant. Ex. 15, Apartment Application and Records at 2–

4. Mr. Milam had signed a lease until February 28, 2009, but moved out

on November 11, 2008. Id. at 8. At the time of moving out, Mr. Milam

owed $1,480.74 in unpaid rent and unpaid utilities, damaged property

and cleaning fees, and unreturned keys. Id. at 8, 10.

     Mr. Milam’s employment involved repetitive, low-skilled tasks. As

a young teenager, Mr. Milam was employed by his Sunday School teacher

on an ad hoc basis to rake leaves, haul trash, and assist with small

building repairs. Ex. 6, Bennett Aff. ¶ 5. Later on, a coworker of Mr.

Milam’s mother helped him obtain employment washing boats and

sweeping trash. Ex. 7, Wallace Aff. ¶ 4. His supervisor recognized that

Mr. Milam was unable to learn his duties and could not complete any

task as instructed. Id.; Ex. 8, Proctor Report at 8. Mr. Milam remained

employed there for about one month. Ex. 8, Proctor Report at 8.

     Mr. Milam’s mother filled out his application for employment at

M&M Lube, 53 RR 207, where Mr. Milam was eventually employed as a

lube tech. Ex. 8, Proctor Report at 6. His duties were limited to changing

oil and fuel filters. His employer reported that he was unable to train Mr.


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Milam to handle money. Id. at 7. Finally, Mr. Milam was employed as a

“tire buster” at Big 5 Tire to change oil and air filters, and change and fix

flat tires. He did not perform any mechanical or body work. 50 RR 20.

Despite reporting good work performance, both Mr. Milam’s manager

and direct supervisor reported incidents involving tardiness and missed

work days resulting in Mr. Milam’s termination after only four months

of employment. Ex. 8, Proctor Report at 8; 50 RR 48. While Mr. Milam

was able to learn “tasks that are repetitious and routine,” he was “not

able to progress beyond this point to more complex mechanical work.” Ex.

10, Fletcher Dec. at 6.

     Mr. Milam’s medical records further reveal a number of work-

related accidents requiring medical attention and treatment, including a

head injury sustained after being struck with pipe tongs, Ex. 14,

Longview Regional Medical Center at 1, and being knocked out by an

open car door. Ex. 13, UTMB Health Services Archive at 7.

           3. Mr. Milam’s deficits           manifested       during     the
              developmental period.

     The third prong requires the applicant to show that his deficits in

intellectual   and   adaptive    functioning    manifested     during    the

developmental period, that is, prior to age 18. DSM-5 at 37. First, Mr.

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Milam’s IQ test scores date from when he was between the ages of 19 and

20. There is no evidence to suggest that an IQ test performed before the

age of 18 would have produced meaningfully different results. Further,

the developmental onset criterion does not require a childhood qualifying

IQ score, nor a childhood diagnosis of intellectual disability. AAIDD-11

at 27; see also Hall v. State, 201 So. 3d 628, 633, 637 (Fla. S. Ct. 2016)

(finding Hall intellectually disabled after remand from United States

Supreme Court and reflecting that earliest IQ test administered on Hall

was at age 23).

     Second, Mr. Milam was 18 at the time of his arrest in the present

case. Consequently, all, or almost all, of the evidence of adaptive deficits

necessarily dates from the developmental period. Indeed, much of it

comes from teachers, employers, and friends who knew him from early

childhood through his mid-to-late teens. Similarly, Dr. Fletcher’s

evaluation of Mr. Milam’s adaptive deficits focused on the ages of 8–9 and

17–18. Ex. 10, Fletcher Dec. at 5. Dr. Fletcher concludes, “[t]he

difficulties described by Ms. Shea and Ms. Milam, and corroborated by

others, clearly occurred early in his development and persisted.” Id. at 7.




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           4. Mr. Milam was exposed to risk factors linked to
              intellectual disability.

     Exposure to risk factors is not a diagnostic criterion, but their

presence corroborates evidence reflecting that a person may be

intellectually disabled. Hall v. Florida, 572 U.S. 701, 706 (2014) (“Hall’s

upbringing appeared to make his deficits in adaptive functioning all the

more severe.”). Risk factors known to be linked to the development of

intellectual disability include maternal illness, family poverty and

chronic illness in the family, social deprivation, lack of formal education,

and inadequate family support. AAIDD-11 at 59. Mr. Milam was exposed

to numerous risk factors associated with intellectual disability.

     First, Mr. Milam’s mother Shirley was twice hospitalized while she

was pregnant with him. The first time, she was diagnosed with

pneumonia, which resulted in a high fever. 51 RR 175. This resulted in a

four-day hospitalization. She later contracted a blood infection, was again

hospitalized for two to three days, and was treated with antibiotics. 51

RR 176. Dr. Cunningham testified that there is “some possibility that the

pregnancy complications contributed to” Mr. Milam’s intellectual

disability. 53 RR 273.




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     Second, teachers recalled limited involvement from Mr. Milam’s

parents in his educational development. Ex. 3, Bradford Aff. ¶ 8 (“Shirley

Milam was quiet and rarely came to school.”). Mr. Milam was eventually

removed from school in the fourth grade by his parents and was not

homeschooled for any significant period of time. 51 RR 239–40. His access

to any support services was therefore limited and, after fourth grade,

entirely eliminated.

     Third, following Mr. Milam’s departure from school in the fourth

grade, his father suffered a debilitating heart attack and stroke which

left him unable to work. 51 RR 241. Mr. Milam was left alone at home to

help care for his sick father, preventing any further formal education and

severely limiting opportunities for socialization. Id. at 258–59. Mr. Milam

spent his days watching Westerns with his father and rarely went

outside. 52 RR 94; 51 RR 264. As a teenager, Mr. Milam spent most of his

time with Neva, playing with cars and watching Scooby Doo, or alone in

his room. 52 RR 92. Dr. Cunningham noted that withdrawing from school

“very significantly [] took him out of those social interactions that are an

important part of developing as a person.” 53 RR 301; see also Ex. 12,

Olley Dec. ¶ 27 (lack of formal education is a risk factor for intellectual


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disability). Mr. Milam was prevented from benefiting from adequate

educational support, and any family support became quasi-nonexistent

when he was left home alone with his ill father beginning at age 12. These

risk factors corroborate that the deficits and limitations evident in Mr.

Milam’s intellectual functioning and adaptive behavior indicate an

intellectual disability.

   IV.    This claim is exhausted.

        Mr. Milam raised an intellectual disability claim in light of Moore

in a Subsequent Application for Writ of Habeas Corpus in state court.

SHCR 10. The claim before this Court is therefore exhausted. Morris v.

Dretke, 413 F.3d 484, 491 (5th Cir. 2005) (“The exhaustion requirement

is satisfied when the substance of the federal claim has been fairly

presented to the highest state court[.]”) (internal quotations and citations

omitted).

   V.     Conclusion and Prayer for Relief

        For these reasons, Mr. Milam respectfully requests that this Court

find that the State of Texas cannot execute him because he is

intellectually disabled.




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                   VERIFICATION BY ATTORNEY

     I, the undersigned, am the attorney appointed pursuant to 18

U.S.C. § 3599 to represent Petitioner Blaine Milam in these proceedings.

I have met with Mr. Milam, consulted with co-counsel at the Federal

Public Defender’s Office, Northern District of Texas, and directed experts

and investigators regarding the circumstances of Mr. Milam’s conviction

and sentence of death. It is in that capacity that I verify this Petition. I

declare under penalty of perjury that the foregoing allegations in this

Petition are true and correct to the best of my knowledge and that this

Petition for Writ of Habeas Corpus is being filed using this Court’s

CM/ECF system on December 15, 2020.



                                   Subscribed by me December 15, 2020,
                                                       Austin, Texas.

                                   /s/ Jennae Swiergula
                                   Jennae Swiergula




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                       CERTIFICATE OF SERVICE

      I hereby certify that on December 15, 2020, I served a copy of the
foregoing pleading on, Tomee Heining, counsel for the Respondent, via
email at tomee.heining@oag.texas.gov.


                      /s/ Jeremy Schepers
                      Jeremy Schepers




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